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 8
 9                         UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11
12    RAUL URIARTE-LIMON,                         Case No.:
13
                  Plaintiff,                      COMPLAINT FOR:
14
         vs.                                    DENIAL OF CIVIL RIGHTS AND
15                                              ACCESS TO PUBLIC FACILITIES
                                                TO PHYSICALLY DISABLED
16                                              PERSONS IN VIOLATION OF THE
      SMOKE CENTRAL LLC, a California AMERICANS WITH DISABILITIES
17    limited liability company;                ACT OF 1990, (42 U.S.C. §12101, et
                                                seq.) AND THE UNRUH CIVIL
      MILLENNIUM INVESTMENT LLC, a RIGHTS ACT, (CALIFORNIA CIVIL
18
      California limited liability company; and CODE §51, et seq.)
19    DOES 1-10,
                                                 DEMAND FOR JURY TRIAL
20                   Defendants.
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                                        COMPLAINT - 1
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 1           Plaintiff RAUL URIARTE-LIMON (hereinafter referred to as “Plaintiff”)
 2    complains of SMOKE CENTRAL LLC, a California limited liability company;
 3    MILLENNIUM INVESTMENT LLC, a California limited liability company; and
 4    DOES 1-10 (each, individually a “Defendant” and collectively “Defendants”) and
 5    alleges as follows:
 6                                       I.      PARTIES
 7          1.     Plaintiff RAUL URIARTE-LIMON is a California resident and a
 8    qualified physically disabled person. He cannot walk due to paraplegia and uses a
 9    wheelchair for mobility. Plaintiff prides himself on his independence and on
10    empowering other disabled persons to be independent.
11          2.     Defendants SMOKE CENTRAL LLC; MILLENNIUM
12    INVESTMENT LLC, and DOES 1-10 are and were the owners, operators, lessors
13    and/or lessees of the subject business, property, and facility at all times relevant in
14    this Complaint.
15          3.     Plaintiff does not know the true names of Defendants, their business
16    capacities, their ownership connection to the property and business, or their
17    relative responsibilities in causing the access violations herein complained of, and
18    alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
19    informed and believes that each of the Defendants herein, including DOES 1
20    through 10, inclusive, is responsible in some capacity for the events herein alleged,
21    or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
22    amend when the true names, capacities, connections, and responsibilities of the
23    Defendants and Does 1 through 10, inclusive, are ascertained.
24          4.     Defendant MILLENNIUM INVESTMENT LLC owns and owned the
25    property located at 8636 Imperial Hwy, Downey, CA 90242 (“Subject Property”)
26    at all relevant times.
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 1           5.     Defendant SMOKE CENTRAL LLC operates and operated smoke
 2    shop doing business as “SMOKE CENTRAL SMOKE SHOP”, located at the
 3    Subject Property, at all relevant times.
 4           6.     Plaintiff alleges that the Defendants have been and are the owners,
 5    franchisees, lessees, general partners, limited partners, agents, trustees, employees,
 6    subsidiaries, partner companies and/or joint ventures of each of the other
 7    Defendants, and performed all acts and omissions stated herein within the course
 8    and scope of such relationships causing the damages complained of herein.
 9                            II.    JURISDICTION AND VENUE
10           7.     This Court has subject matter jurisdiction over this action pursuant to
11    28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
12    Disabilities Act of 1990, U.S.C. §12101, et seq.
13           8.     Pursuant to supplemental jurisdiction, an attendant and related cause
14    of action, arising out of the same nucleus of operative facts and arising out of the
15    same transactions, is also brought under California’s Unruh Civil rights Act, which
16    expressly incorporates the Americans with Disabilities Act.
17           9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
18    and is founded on the fact that the real property which is the subject of this action
19    is located in this district and that Plaintiff’s causes of action arose in this district.
20                                          III.   FACTS
21           10.    Plaintiff uses a wheelchair for mobility.
22           11.    Defendants’ business is open to the public, a place of public
23    accommodation, and a business establishment.
24           12.    Plaintiff went to the smoke shop on November 5, 2021 to shop and
25    purchase products.
26           13.    Unfortunately, during Plaintiff’s visit to the smoke shop, Defendants
27    did not offer persons with disabilities with equivalent facilities, privileges,
28    advantages, and accommodations offered to other persons.

                                             COMPLAINT - 3
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 1          14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
 2    the ability to use and enjoy the goods, services, privileges, advantages, and
 3    accommodations offered by Defendants at the Subject Property.
 4          15.    Parking for patrons visiting the Subject Property is among the
 5    facilities, privileges advantages, and accommodations offered by Defendants.
 6          16.    When parking is provided, there must be at least one marked
 7    accessible parking space designated and marked for disabled persons. 2010 ADA
 8    Standards §502.
 9          17.    However, there is no accessible parking for disabled persons and/or
10    the parking spaces designated for disabled person do not comply with the
11    Americans with Disabilities Act (“ADA”). The parking area also does not comply
12    with the latest California Building Codes (“2019 CBC Code”).
13          18.    The paint used for the designated accessible parking space was badly
14    faded and cannot be clearly seen. There is no way to determine the actual
15    dimensions of the space. The International Access Symbol was so faded and worn
16    it cannot be clearly seen. ADA 2010 §502.3.3, §502.6; 2019 CBC 11B-502.3.3,
17    11B 502.6.
18          19.    The parking spaces adjacent loading and unloading access aisle did
19    not say “No Parking” or the paint is so faded and worn it cannot be read. ADA
20    2010 §502.3.3; 2019 CBC 11B-502.3.3.
21          20.    There is no ADA compliant “Van Accessible” parking signage. ADA
22    2010 §502.6; 2019 CBC 11B 502.6.
23          21.    Plaintiff personally encountered these barriers.
24          22.    These inaccessible conditions denied Plaintiff full and equal access
25    and caused him difficulty, humiliation, and frustration.
26          23.    The barriers existed during Plaintiff’s visit to the smoke shop on
27    November 5, 2021.
28

                                          COMPLAINT - 4
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 1              24.   Plaintiff alleges that Defendants knew that the architectural barriers
 2    prevented equal access. Plaintiff will prove that Defendants had actual knowledge
 3    that the architectural barriers prevented equal access and that the noncompliance
 4    with the Americans with Disabilities Act and Title 24 of the California Building
 5    Code regarding accessible features was intentional.
 6              25.   Plaintiff intends to return to Defendants’ public accommodation
 7    facilities in the near future. Plaintiff is currently deterred from returning because of
 8    the knowledge of barriers to equal access that continue to exist at Defendants’
 9    facilities that relate to Plaintiff’s disabilities.
10              26.   Defendants have failed to maintain in working and useable conditions
11    those features necessary to provide ready access to persons with disabilities. 28
12    C.F.R. §36.211(a).
13              27.   Defendants have the financial resources to remove these barriers
14    without much expense or difficulty in order to make their Property more accessible
15    to their mobility impaired customers. These barriers are readily achievable to
16    remove. The United States Department of Justice has identified that these types of
17    barriers are readily achievable to remove.
18              28.   To date, Defendants refuse to remove these barriers, in violation of
19    the law, willfully depriving disabled persons including Plaintiff of important civil
20    rights.
21              29.   On information and belief, the Plaintiff alleges that the Defendants’
22    failure to remove these barriers was intentional because the barriers are logical and
23    obvious. During all relevant times Defendants had authority, control and dominion
24    over these conditions and therefore the absence of accessible facilities was not a
25    mishap but rather an intentional act.
26              30.   The barriers to access are listed above without prejudice to Plaintiff
27    citing additional barriers to access by an amended complaint after inspection by
28    Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.

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 1    2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier
 2    One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to
 3    access render the premises inaccessible to physically disabled persons who are
 4    mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter when
 5    he returns to the premises. All facilities must be brought into compliance with all
 6    applicable federal and state code requirements, according to proof.
 7                               FIRST CAUSE OF ACTION
 8                 Violation of the Americans With Disabilities Act of 1990
 9                                 (42 U.S.C. §12101, et seq.)
10                                  (Against All Defendants)
11          31.    Plaintiff alleges and incorporates by reference, as if fully set forth
12    again herein, each and every allegation contained in all prior paragraphs of this
13    complaint.
14          32.    More than thirty years ago, the 101st United States Congress found
15    that although “physical or mental disabilities in no way diminish a person’s right to
16    fully participate in all aspects of society, yet many people with physical or mental
17    disabilities have been precluded from doing so because of discrimination…in such
18    critical areas as employment, housing, public accommodations, education,
19    transportation, communication, recreation, institutionalization, health services,
20    voting, and access to public services.” 42 U.S.C. §12101(a).
21          33.    In 1990 Congress also found that “the Nation’s proper goals regarding
22    individuals with disabilities are to assure equality of opportunity, full participation,
23    independent living, and economic self-sufficiency for such individuals,” but that
24    “the continuing existence of unfair and unnecessary discrimination and prejudice
25    denies people with disabilities the opportunity to compete on an equal basis and to
26    pursue those opportunities for which our free society is justifiably famous.” 42
27    U.S.C. §12101(a).
28

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 1          34.    In passing the Americans with Disabilities Act of 1990, which was
 2    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
 3    “ADA”), Congress stated as its purpose:
 4          “It is the purpose of this Act
 5
            (1) to provide a clear and comprehensive national mandate for the
 6          elimination of discrimination against individuals with disabilities;
 7
            (2) to provide clear, strong, consistent, enforceable standards
 8          addressing discrimination against individuals with disabilities;
 9
            (3) to ensure that the Federal Government plays a central role in
10          enforcing the standards established in this Act on behalf of individuals
11          with disabilities; and

12          (4) to invoke the sweep of congressional authority, including the power
13          to enforce the fourteenth amendment and to regulate commerce, in
            order to address the major areas of discrimination faced day to-day by
14          people with disabilities.”
15
      42 USC §12101(b).
16
17          35.    As part of the ADA, Congress passed “Title III – Public
18    Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
19    seq.). Title III of the ADA prohibits discrimination against any person “on the
20    basis of disability in the full and equal enjoyment of the goods, services, facilities,
21    privileges, advantages, or accommodations of any place of public accommodation
22    by any person who owns, leases (or leases to), or operates a place of public
23    accommodation.” 42 U.S.C. §12182(a).
24          36.    The specific prohibitions against discrimination include, inter alia, the
25    following:
26       • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
           shall be discriminatory to afford an individual or class of individuals,
27         on the basis of a disability or disabilities of such individual or class,
28         directly, or through contractual, licensing, or other arrangements, with

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 1          the opportunity to participate in or benefit from a good, service, facility,
            privilege, advantage, or accommodation that is not equal to that
 2
            afforded to other individuals.”
 3
 4       • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
           modifications in policies, practices, or procedures when such
 5         modifications are necessary to afford such goods, services, facilities,
 6         privileges, advantages, or accommodations to individuals with
           disabilities...;”
 7
 8       • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
           necessary to ensure that no individual with a disability is excluded,
 9         denied service, segregated, or otherwise treated differently than other
10         individuals because of the absence of auxiliary aids and services...;”
11       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
12         barriers, and communication barriers that are structural in nature, in
           existing facilities... where such removal is readily achievable;”
13
14       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
15
           failure to make such goods, services, facilities, privileges, advantages,
16         or accommodations available through alternative methods if such
17         methods are readily achievable.”

18
            37.    Plaintiff is a qualified individual with a disability as defined in the
19
      Rehabilitation Act and in the Americans with Disabilities Act of 1990.
20
            38.    The acts and omissions of Defendants set forth herein were in
21
      violation of Plaintiff’s rights under the ADA and the regulations promulgated
22
      thereunder, 28 C.F.R. Part 36 et seq.
23
            39.    The removal of each of the physical and policy barriers complained of
24
      by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
25
      achievable” under the standards of §12181 and §12182 of the ADA. Removal of
26
      each and every one of the architectural and/or policy barriers complained of herein
27
      was already required under California law. Further, on information and belief,
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 1    alterations, structural repairs or additions since January 26, 1993, have also
 2    independently triggered requirements for removal of barriers to access for disabled
 3    persons per §12183 of the ADA. In the event that removal of any barrier is found
 4    to be “not readily achievable,” Defendants still violated the ADA, per
 5    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 6    and accommodations through alternative methods that were “readily achievable.”
 7          40.    On information and belief, as of the date of Plaintiff’s encounter at the
 8    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 9    physical premises have denied and continue to deny full and equal access to
10    Plaintiff and to other mobility disabled persons in other respects, which violate
11    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
12    the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
13    enjoyment of the goods, services, facilities, privileges, advantages and
14    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
15          41.    Defendants’ actions continue to deny Plaintiff’s rights to full and
16    equal access and discriminated and continue to discriminate against him on the
17    basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
18    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
19    accommodations, in violation of the ADA, 42 U.S.C. §12182.
20          42.    Further, each and every violation of the Americans With Disabilities
21    Act of 1990 also constitutes a separate and distinct violation of California Civil
22    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
23    damages and injunctive relief pursuant to California law, including but not limited
24    to Civil Code §54.3 and §55.
25                             SECOND CAUSE OF ACTION
26                           Violation of the Unruh Civil Rights Act
27                             (California Civil Code §51, et seq.)
28                                   (Against All Defendants)

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 1            43.    Plaintiff alleges and incorporates by reference, as if fully set forth
 2     again herein, each and every allegation contained in all prior paragraphs of this
 3     complaint.
 4            44.    California Civil Code §51 provides that physically disabled persons
 5     are free and equal citizens of the state, regardless of their medical condition or
 6     disability:
 7            All persons within the jurisdiction of this state are free and equal, and
              no matter what their sex, race, color, religion, ancestry, national origin,
 8
              disability, or medical condition are entitled to full and equal
 9            accommodations, advantages, facilities, privileges, or services in all
              business establishments of every kind whatsoever.
10
11     California Civil Code §51(b) (emphasis added).
12            45.    California Civil Code §51.5 also states, in part: “No business,
13     establishment of any kind whatsoever shall discriminate against…any person in
14     this state on account” of their disability.
15            46.    California Civil Code §51(f) specifically incorporates (by reference)
16     an individual’s rights under the ADA into the Unruh Act.
17            47.    California Civil Code §52 provides that the discrimination by
18     Defendants against Plaintiff on the basis of his disability constitutes a violation of
19     the general antidiscrimination provisions of §51 and §52.
20            48.    Each of Defendants’ discriminatory acts or omissions constitutes a
21     separate and distinct violation of California Civil Code §52, which provides that:
22            Whoever denies, aids or incites a denial, or makes any discrimination
23            or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
              every offense for the actual damages, and any amount that may be
24            determined by a jury, or a court sitting without a jury, up to a maximum
25            of three times the amount of actual damage but in no case less than four
              thousand dollars ($4,000), and any attorney’s fees that may be
26            determined by the court in addition thereto, suffered by any person
27            denied the rights provided in Section 51, 51.5, or 51.6.

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 1           49.    Any violation of the Americans with Disabilities Act of 1990
 2     constitutes a violation of California Civil Code §51(f), thus independently
 3     justifying an award of damages and injunctive relief pursuant to California law,
 4     including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
 5     individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 6     336) shall also constitute a violation of this section.”
 7           50.    The actions and omissions of Defendants as herein alleged constitute a
 8     denial of access to and use of the described public facilities by physically disabled
 9     persons within the meaning of California Civil Code §51 and §52.
10           51.    As a proximate result of Defendants’ action and omissions,
11     Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
12     §52, and are responsible for statutory, compensatory and actual damages to
13     Plaintiff, according to proof.
14                                      PRAYER FOR RELIEF
15            Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
16     forth in this Complaint. Plaintiff has suffered and will continue to suffer
17     irreparable injury as a result of the unlawful acts, omissions, policies, and
18     practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
19     he requests. Plaintiff and Defendants have an actual controversy and opposing
20     legal positions as to Defendants’ violations of the laws of the United States and
21     the State of California.
22            The need for relief is critical because the civil rights at issue are paramount
23     under the laws of the United States of America and the State of California.
24            WHEREFORE, Plaintiff prays judgment against Defendants, and each of
25     them, as follows:
26                  1.     Issue a preliminary and permanent injunction directing
27           Defendants as current owners, operators, lessors, and/or lessees of the
28           Subject Property and premises to modify the above described property,

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 1          premises, policies and related facilities to provide full and equal access
 2          to all persons, including persons with physical disabilities; and issue a
 3          preliminary and permanent injunction pursuant to ADA §12188(a) and
 4          state law directing Defendants to provide facilities and services usable
 5          by Plaintiff and similarly situated persons with disabilities, and which
 6          provide full and equal access, as required by law, and to maintain such
 7          accessible facilities once they are provided; to cease any discriminatory
 8          policies; and to train Defendants’ employees and agents how to
 9          recognize disabled persons and accommodate their rights and needs;
10                2.     Retain jurisdiction over the Defendants until such time as
11          the Court is satisfied that Defendants’ unlawful policies, practices, acts
12          and omissions, and maintenance of physically inaccessible public
13          facilities and policies as complained of herein no longer occur, and
14          cannot recur;
15                3.     Award to Plaintiff all appropriate damages, including but
16          not limited to actual and statutory damages according to proof;
17                4.     Award to Plaintiff all reasonable attorney fees, litigation
18          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
19          California Civil Code §52; and
20                5.     Grant such other and further relief as this Court may deem
21          just and proper.
22
23     DATED: February 15, 2022                      VALENTI LAW APC
24
25                                             By: /s/ Matt Valenti
26                                                 Matt Valenti, Esq.
                                                   Attorney for Plaintiff
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                                          COMPLAINT - 12
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 1                                     JURY DEMAND
 2           Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3     jury is permitted.
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 5
 6     DATED: February 15, 2022                     VALENTI LAW APC
 7
 8                                             By: /s/ Matt Valenti
 9                                                 Matt Valenti, Esq.
                                                   Attorney for Plaintiff
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